Case 3:24-cr-00037-BJB-CHL             Document 28        Filed 10/21/24       Page 1 of 9 PageID #: 54

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                                                                              JAMES J. VILT, JR. - CLERK

                                                                                        OCT 2 1 2024
                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF KENTUCKY                      U.S. DISTRICT COURT
                                       AT LOUISVILLE                            WEST'N. DIST. KENTUCKY

  UNITED STATES OF AMERICA                                                                PLAINTIFF


  V.                                                                 CRIMINAL NO. 24-CR-37-BJB


  ALLEN LOVE                                                                            DEFENDANT


                                            PLEA AGREEMENT

          Pursuant to Rule 1 l(c)(l)(B) of the Federal Rules of Criminal Procedure, the United

  States of America, by Michael A. Bennett, United States Attorney for the Western District of

  Kentucky, and defendant, Allen Love, and his attorney, Scott C. Cox, have agreed upon the

  following:

          1.      Defendant acknowledges that he has been charged in the Indictment in this case

  with violations of Title 18, United States Code, Sections 922(0), 933(a)(l ), and Title 26 United

  States Code, Sections 5 841, 5861(d), and 5 871. Defendant further acknowledges that the

  Indictment in this case seeks forfeiture of an Unknown Make, Unknown Model, 9 millimeter

  caliber rifle bearing no serial number, and six Swift Conversion Devices.

          2.      Defendant has read the charges against him contained in the Indictment, and those

  charges have been fully explained to him by his attorney. Defendant fully understands the nature

  and elements of the crimes with which he has been charged.

          3.      Defendant will enter a vo luntary plea of guilty to Counts 1-8 in this case.

  Defendant will plead guilty because he is in fact guilty of the charges. The parties agree to the

  follow ing factual basis for this plea:
Case 3:24-cr-00037-BJB-CHL            Document 28         Filed 10/21/24       Page 2 of 9 PageID #: 55




                 On February 1st, 2024, in Jefferson County, Kentucky the Defendant sold a 9-

          millimeter caliber rifle to a confidential law enforcement source equipped with audio

          and video recording devices. The rifle did not have a serial number and examination by

          the A TF confirmed that it was an NF A that had not been registered.

                  On February 5 th , 17th, and March 161\ 2024 in Jefferson County, Kentucky the

          Defendant sold two Swift Conversion devices (on each date) to a confidential law

          enforcement source equipped with recording devices. Each Swift Conversion Device

          was capable of rendering AR-15 rifles from semi to fully automatic and meet the

          definition of machine guns under federal law.

          4.      Defendant understands that the charges to which he will plead guilty carries a

  combined maximum term of imprisonment of 100 years, a combined maximum fine of

   $1,760,000, and a 3-year term of supervised release. Defendant understands that an additional

  term of imprisonment may be ordered if the terms of the supervised release are violated, as

   explained in 18 U.S.C. § 3583.

          5.      Defendant recognizes that pleading guilty may have consequences with respect to

   his immigration status if he is not a citizen of the United States. Under federal law, a broad range

   of crimes are removable offenses, which may include the offense to which Defendant is pleading

   guilty. In addition, if he is a naturalized citizen, Defendant acknowledges that certain convictions,

   which may include Defendant' s conviction, may expose him to denaturalization under federal

   law. Because removal, denaturalization, and other immigration consequences are handled in

   separate proceedings, Defendant understands that no one, including his attorney or the U.S. District

   Court, can predict with certainty how his conviction may affect his immigration, naturalization, or

   citizenship status. Defendant agrees to plead guilty with a full understanding that this guilty plea



                                                     2
Case 3:24-cr-00037-BJB-CHL             Document 28          Filed 10/21/24         Page 3 of 9 PageID #: 56




  may lead to adverse immigration consequences, including denaturalization and possible automatic

  removal from the United States.

         6.        Defendant understands that if a term of imprisonment of more than one year is

  imposed, the Sentencing Guidelines require a term of supervised release and that he will then be

  subject to certain conditions of release. §§SDl.1 , 5Dl.2, 5D1.3.

         7.        Defendant understands that by pleading guilty, he surrenders certain rights set

  forth below. Defendant's attorney has explained those rights to him and the consequences of his

  waiver of those rights, including the following:

                   A.     ff defendant persists in a plea of not guilty to the charge[s] against

         him, he has the right to a public and speedy trial. The trial could either be a jury

         trial or a trial by the judge sitting without a jury. If there is a jury trial, the jury

         would have to agree unanimously before it could return a verdict of either guilty

         or not guilty. The jury would be instructed that defendant is presumed innocent

         and that it could not convict him unless, after hearing all the evidence, it was

          persuaded of defendant's guilt beyond a reasonable doubt.

                   B.     At a trial, whether by a jury or a judge, the United States would be

          required to present its witnesses and other evidence against defendant. Defendant

          would be able to confront those government witnesses and his attorney would be

          able to cross-examine them. In turn, defendant could present witnesses and other

          evidence on his own behalf. If the witnesses for defendant would not appear

          voluntarily, he could require their attendance through the subpoena power of the

          Court.




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Case 3:24-cr-00037-BJB-CHL                 Document 28           Filed 10/21/24          Page 4 of 9 PageID #: 57




                   C.       At a trial, defendant would have a privilege against se lf-

           incrimination and he could decline to testify, without any inference of guilt being

           drawn from his refusal to testify. If defendant desired to do so, he could testify in

           his own behalf.

           8.      Defendant understands that the United States Attorney's Office has an obligation

  to fully apprise the District Court and the United States Probation Office of all facts pertinent to

  the sentencing process, and to respond to all legal or factual inquiries that might arise either

  before, during, or after sentencing. Defendant admits all acts and essential elements of the

   indictment counts to which he pleads guilty.

           9.       Defendant acknowledges liability for the special assessment mandated by 18

   U.S.C. § 3013 and will pay the assessment in the amount $ 100 per count for felony offenses

   involving individuals, a total of $800 to the United States District Court Clerk's Office by the

   date of sentencing.

           l 0.     At the time of sentencing, the United States will

                    -recommend a sentence of imprisonment at the lowest end of the
                    applicable Guideline Range.

                    -recommend a fine at the lowest end of the applicable Guideline
                    Range, to be due and payable on the date of sentencing. 1

                    -recommend a reduction of3 levels below the otherwise applicable
                    Guideline for "acceptance of responsibility" as provided by
                    §3E 1.1 (a) and (b), provided the defendant does not engage in
                    future conduct which violates any federal or state law, violates a
                    condition of bond, constitutes obstruction of justice, or otherwise
                    demonstrates a lack of acceptance of responsibility. Should such
                    conduct occur and the United States, therefore, opposes the
                    reduction for acceptance, this plea agreement remains binding and
                    the defendant will not be allowed to withdraw his plea.

   1 The defendant acknowledges that he has read the Notice and Penalty Pages attached to the Indictment/Information,

   and that he understands the interest and penalty provisions applicable to the fine imposed and included in the
   Judgment entered by the Court, said Notice and Penalty Pages are incorporated herein by reference.

                                                           4
Case 3:24-cr-00037-BJB-CHL            Document 28        Filed 10/21/24       Page 5 of 9 PageID #: 58




                 -demand forfeiture of an Unknown Make, Unknown Model, 9 millimeter
                 caliber rifle bearing no serial number, and six Swift Conversion Devices.


          11.    Both parties have independently reviewed the Sentencing Guidelines applicable in

  this case, and in their best judgment and belief, conclude as follows:

                 A.      The Applicable Offense Level should be determined as fo llows:

                 Base Offense Level 18 per USSG § 2K2. l (a)(5)
                 Add 2 levels per USSG § 2K2.1 (b )(1 )(A)
                 Add 4 levels per USSG § 2K2.l(b)(4)(B)(ii)
                 Total Offense Level 24

                 B.      The Crim inal History of defendant shall be determined upon

         completion of the presentence investigation, pursuant to Fed. R. Crim. P. 32(c).

         Both parties reserve the right to object to the USSG §4A 1.1 calcu lation of

          defendant's criminal history. The parties agree to not seek a departure from the

          Criminal History Category pursuant to §4A 1.3.

                 C.      The foregoing statements of applicability of sections of the Sentencing

          Guidelines and the statement of facts are not binding upon the Court. The defendant

          understands the Court will independently calculate the Guidelines at sentencing and

          defendant may not withdraw the plea of guilty solely because the Court does not agree

          with either the statement of facts or Sentencing Gu ideline application.

   12. Defendant agrees to the following waivers of appellate and post-conviction rights:


                 A. The Defendant is aware of his right to appeal his conviction and that 18
                    U.S.C. § 3742 affords a defendant the right to appeal the sentence
                    imposed. Unless based on claims of ineffective assistance of counsel or
                    prosecutorial misconduct, the Defendant knowingly and voluntarily waives
                    the right to directly appeal his conviction and the resulting sentence pursuant
                    to Fed. R. App. P. 4(b) and 18 U.S.C. § 3742.


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Case 3:24-cr-00037-BJB-CHL             Document 28         Filed 10/21/24       Page 6 of 9 PageID #: 59




                   B. The Defendant is aware of his right to contest or collaterally attack his
                      conv iction and the resulting sentence under 28 U.S.C. § 2255 or
                      otherwise. Unless based on claims of ineffective assistance of counsel or
                      prosecutorial misconduct, Defendant knowingly and voluntarily waives any
                      collateral attack argument; and

                   C. The defendant knowingly and voluntarily agrees to limit any motion for
                      compassionate release for extraordinary and compelling reasons, pursuant to
                      18 U.S.C. §3582(c)(l)(A)(i), that the defendant may file in the future to the
                      grounds listed in USSG §1B1.13(b)(1)-(5). The defendant knowingly and
                      voluntarily waives the option to move for compassionate release based on any
                      non-retroactive change in the law, including as provided for USSG
                      § 1B 1.13(6)(6) ("Unusually Long Sentence").

          13.      Defendant waives and agrees to waive any rights under the Speedy Trial Act and

  understands and agrees that sentencing may be delayed. The reason for such waiver is so that at

  sentencing the Court will have the benefit of all relevant information.

          14.      Defendant agrees to forfeit and abandon any right to any and all evidence and

  property seized during the course of this investigation (including but not limited to any item

  subject to forfeiture), and waives any right to seek the return of any prope1ty pursuant to Fed. R.

   Crim. P. 41 or otherwise. Defendant understands and agrees that items seized during the course

   of this investigation will be destroyed or otherwise disposed of by the seizing law enforcement

   agency.

             15.   The Defendant understands and agrees that, consistent with the provisions of 18

   U.S.C. § 3143, following the change of plea the defendant may be detained pending sentencing.

             16.   It is understood that pursuant to Fed. R. Crim. P. l l(c)(l)(B), the

   recommendations of the United States are not binding on the Court. In other words, the Court is

   not bound by the sentencing recommendation and defendant will have no right to withdraw his

   guilty plea if the Court decides not to accept the sentencing recommendation set forth in this

   Agreement.



                                                     6
Case 3:24-cr-00037-BJB-CHL               Document 28     Filed 10/21/24       Page 7 of 9 PageID #: 60




          17.     Defendant agrees that the disposition provided for within this Agreement is fair,

  taking into account all aggravating and mitigating factors. Defendant states that he has informed

  the United States Attorney's Office and the Probation Officer, either directly or through his

  attorney, of all mitigating factors.

          18.     This document and the supplemental plea agreement state the complete and only

  Plea Agreements between the United States Attorney for the Western District of Kentucky and

  defendant in this case, and are binding only on the parties to this Agreement, supersedes all prior

  understandings, if any, whether written or oral, and cannot be modified other than in writing that

  are signed by all parties or on the record in Court. No other promises or inducements have been

  or will be made to defendant in connection with this case, nor have any pred ictions or threats

  been made in connection with this plea.


  AGREED:

  MICHAEL A. BENNETT
  United States Attorney

  By:



            . Porter                                                   Date
          nt United States Attorney


          I have read this Agreement and carefully reviewed every part of it with my attorney. I
  fully understand it d I vol tarily agree to it.




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Case 3:24-cr-00037-BJB-CHL          Document 28        Filed 10/21/24      Page 8 of 9 PageID #: 61




          I am the defendant's counsel. I have carefully reviewed every part of this Agreement
  with the defendant. To my knowledge my client's decision to enter into this Agreement is an
  informed and voluntary one.

                                                                              OCT d'f
  Seo&=('.'           <4y                                           Date
  Counsel for Defendant


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Case 3:24-cr-00037-BJB-CHL                             Document 28                      Filed 10/21/24                     Page 9 of 9 PageID #: 62




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